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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK

 

UNITED STATES OF AMERICA, ee
v. 17-CR-40-V
LAWRENCE RUSSELL,
(ICN#42588)
Defendant.

 

PETITION AND ORDER FOR WRIT OF
HABEAS CORPUS AD PROSEQUENDUM

TO: THE HONORABLE JUDGE OF THE UNITED STATES DISTRICT COURT

The Petition of the Acting United States Attorney for the Western District of New

York respectfully states:

The defendant, LAWRENCE RUSSELL, was involved in a crime against the United
States, violations of Title 21, United States Code, Sections 841(a)(1), 846, and 856(a)(1). He
is incarcerated at the Erie County Holding Center, at Buffalo, New York. His presence is

required in the United States District Court at Buffalo, New York, for arraignment.

WHEREFORE, your petitioner requests that the Clerk be instructed to issue a Writ of
Habeas Corpus Ad Prosequendum to the United States Marshal for the Western District of
New York commanding agents of the Federal Bureau of Investigation to take said defendant

into custody and bring him before the United States District Court, City of Buffalo, New
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York, on February 24, 2017, at 1:30 p.m., and, thereafter, said defendant is to be returned to

his place of confinement
DATED: Buffalo, New York, February 22, 2017.

JAMES P. KENNEDY, JR.
Acting pani Attorney

Oe

  
  

BY: oe J o
WEI XIANG “~~
Assistant United States Attorney
United States Attorney’s Office
Western District of New York
138 Delaware Avenue
Buffalo, New York 14202
716/843-5806
Wei. Xiang@usdoj.gov

IT IS SO ORDERED:

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HONORABLE JEREMIAH. McCARTHY
United States Magistrate Judge

 

DATED: February ,/,2017.
